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FILED

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

UNITED STATES DISTRICT COURT

(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

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for the 2022 JUL 25 AM
+ ant 5 DISTRICT COURT
District of appre ‘ STRICT OF FLORIDA
EDL ET ANDO. FLORIDA
Division
) Case No.
) (to be filled in by the Clerk's Office)
)
Plaintiff(s) )
(Write the full name of each plaintiff who is filing this complaint. oa,
If the names of all the plaintiffs cannot fit in the space above, ) Jury Trial: (check one) LI Yes [_]No
please write “see attached” in the space and attach an additional )
page with the full list of names.) )
“V~ )
)
)
)
)
Defendant(s) )
)
)

COMPLAINT FOR A CIVIL CASE

I. The Parties to This Complaint
A. The Plaintiff(s)
Provide the information below for each plaintiff named in the complaint. Attach additional pages if
needed.
Name
- Street Address
City and County

State and Zip Code

Telephone Number
E-mail Address

B. The Defendant(s)
Provide the information below for each defendant named in the complaint, whether the defendant is an

individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (ifknown). Attach additional pages if needed.

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Defendant No. 1

Name ~~ 5 ret Sexo &

Job or Title (if known)

Street Address 120 Nolalonr ‘Rd

City and County Dy ~ Rn : ‘Bee VO ca
State and Zip Code Ez UL a

Telephone Number 29 | -O a - QURjH

E-mail Address (if known)

Defendant No. 2 .
Name + mr 4
Job or Title (if known) .
Street Address
City and County
State and Zip Code

Telephone Number a: ) | - DS ) R45 \ p

E-mail Address (if known)

Defendant No. 3

Name Od, ok Palm Pou

Job or Title (if known)

Street Address [QO Ma | aly c ‘RA
City and County “Pol A / i
State and Zip Code Tl). 30

Telephone Number a9 |- Ha- AUV)y

E-mail Address (if known)

Defendant No. 4
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code

Telephone Number 33 | OR BUCO

E-mail Address (if known)

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Defendant No. \S

Name Nelson ( { OU Ow
Job of Title (if tnown) SS
Street Address nS ™ dk Qe C6 yy cf Rd
ciymdcny COO SURES
State and Zip Code NY | | q Qt]

IN — {

Telephone Number

E-mail Address (if known)

Defendant No. ¥ lo

Name Gan al

Job or Title (if known)

Street Address | f Me lols Rend
City and County in Sf \ (Q Jord
EL 25907.

State and Zip Code

Telephone Number _

E-mail Address (f known)

Defendant No. 3

Name

Job or Title (if known)
Street Address

City and County
State and Zip Code

Telephone Number

E-mail Address (if known)

Defendant No. 4

Name

Job or Title (if known)
Street Address

City and County
State and Zip Code

Telephone Number

E-mail Address (if known)

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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

I. Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
[V Federal question [] Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

42 U.S.C. § 2000d, et seq. and 34 U.S.C. § 10228; § 914.22 42 U.S.C. 14141; Violation of Special
Relationship Doctrine; Violation of the 1983 Act

B. If the Basis for Jurisdiction Is Diversity of Citizenship

1. The Plaintiff(s)
a. If the plaintiff is an individual
The plaintiff, (name) Lisa Enlow and John Enlow , is a citizen of the

State of (name) Florida

b. If the plaintiff is a corporation
The plaintiff, (name) , is incorporated

under the laws of the State of (name)

and has its principal place of business in the State of (name)

(if more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s)

a. If the defendant is an individual
The defendant, (name) , is a citizen of
the State of (name) . Or is a citizen of

(foreign nation)

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b. If the defendant is a corporation
The defendant, (name) , is incorporated under
the laws of the State of (name) , and has its

principal place of business in the State of (name)

Or is incorporated under the laws of (foreign nation) ’

and has its principal place of business in (name)

(if more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

The plaintiffs lives were endangered as a direct result of the defendants failure to preform their
jobs, the plaintiffs were forced to sell their home at a large loss in order to ensure their own
safety, were left homeless, endured over 10 years of pain and suffering, their lives and childrens
lives were threatened, they have been harrassed, defamed and discriminated against at the
hands of the defendants on a daily basis. See attached timeline.

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

42 U.S.C. § 2000d, et seq. Title VI, 42 U.S.C. § 2000d et seq., was enacted as part of the landmark Civil Rights
Act of 1964. It prohibits discrimination on the basis of race, color, and national origin in programs and activities
receiving federal financial assistance. The defendants refused service and protection to the plantiffs after the
defendants asked the plantiff, Lisa Enlow, to be a witness in a theft case. The theives were proven to have guns
and began harassing and threatening the plantiff. The defendants refused service on multiple occassions when
the plantiff was in fear for her and her family's lives. The defendants blocked all attempts by the Enlows to report
the misconduct.

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

$83,000 loss on sale of home, 2,917,000 Flashbacks, nightmares, Intense disturbing thoughts as well as feelings;
Feelings of sadness, fear, and anger; and Strong negative reactions to certain triggers, Sleep disturbances,
insomnia; Anxiety, depression, and fear; Humiliation; and Grief, Post-traumatic stress disorder, mental anguish,
emotional distress and pain and suffering for plantiff Lisa Enlow, 1,000,000 pain and suffering for John Enlow.
Suspension of retirement benefits for all defendants for violating Article Il, Section 8, Subsection (g) of the Florida
Constitution.

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and 34 U.S.C. § 10228; § 914.22 42 U.S.C. 14141; Violation of Special Relationship
Doctrine; Violation of the 1983 Act

I was asked by Officer Aaron Arndt to be a witness in a theft case. He asked to use my
surveillance and for me to testify against a group of people stealing dirt bikes. After this
group found out I was on the witness list, they began tormenting, harassing and
threatening myself, my husband and our two young children.

7/14/2020 The group of black males on dirtbikes came revving up their engines, staring
me down and doing wheelies past our house several times. After calling in on them
several times, I called and asked to speak with the watch commander. Lt. Leonard called
me back. I explained to Lt.Leonard that I was a witness in a grand theft case against these
guys and that they keep coming by my house in an intimidating way. Lt. Leonard
suggested that I may be able to get an order through the courts that would require this
group to stay away from my residence. He suggested I make contact with the State
Attorney's office to ask about it. As I was speaking with him, I could hear the group
coming back again. I told Lt. Leonard, they're coming back, Lt Leonard could hear the
group coming and revving their engines as they approached my residence. He informed
me that there was an officer in the area that he was going to dispatch. Dennis was out
walking and was west of our residence near

1) We tried to make a complaint with internal affairs and Chief Moya intervened and
cancelled the meeting.

2) The Palm Bay Police Dept was supposed to conduct their own internal investigation
into the complaint against Lt. Spears.

3) No one took a statement of our complaint for the investigation.

4) No one asked for the video of the crime (reckless driving and harassment)

5) An investigation was started into the dirtbike drivers in lieu of investigating the fact
that I have been calling about these drivers harassing me and trying to intimidate me for
months which has resulted in them being arrested and/or ticketed on 2 seperate occasions
and that I had reason to believe I was in danger and Lt Spears abandoned his duty to do
everything in his power to investigate the complaint.

6) We were provided no details of what their "investigation" of Lt. Spears entailed
other than they listened to the call I made. No sworn statement was taken from me per FL
Statute 112.533Receipt and processing of complaints.—

7) Commander Resh informed me that J could not make a complaint because my
feelings were hurt because I am a woman.

8) Lt. Spears informed me on Sunday that he told Dennis on Saturday that he was not
coming to our house and that none of his officers were coming either. This escalated the
situation into shear panic on my part leaving me stranded and abandoned

9) Lt. Spears told me to call back when they started shooting at me and maybe he
would send someone.

10) Lt. Spears began harassing us with taunting phone calls laughing if we called for
help while he was on duty. Lt. Spears threatened us and told us that officers do not like
snitches either and if we didn’t stop trying to file a complaint we would be sorry.

11) The police failed to stop witness tampering.

12) Commander Resh attempted to coerce me into changing my statement.
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The command staff, and City Government failed us, forced us from our home and have
caused emotional trauma to our entire family. The Palm Bay Police created a special
relationship with me by asking me to be a witness also testify using my surveillance to
help convict several individuals in a theft ring. The Palm Bay Police violated my civil
rights by in turn failing to protect me from the same individuals the Palm Bay Police
asked me to testify against in the theft ring using my surveillance to help convict them. I
was sexually discriminated against

13) Lt. Spears called on multiple occasions to maliciously, intentionally harass us. Lt.
Spears told me to call when the gang started shooting at me and maybe he would send
someone to help. He would laugh and tell us that he is untouchable, that his commanders
would not do anything to help us and he has the power to decide if we get help or not.
That his discretion is that he will not have any officers under him respond to us and
telling us that if we continue to try to make complaints, we would be sorry. He told us
that officers don’t like snitches either. Forcing us to flee in fear for our lives.

Friday 8/21/2020 we made a call for service to the Palm Bay PD and asked to meet with
an officer, Officer responded. We informed the officer that we needed to get an
information report. He stepped away briefly to call his watch commander (Commander
Leonard), then returned and stated that he would complete a report and make a template
so that when we needed to have a report done, he could just fill it in for us.

Friday 8/21/2020 I called Alyssa in the accreditation dept at the Palm Bay PD. I asked if
we were entitled to receive a report if we make a call for service. She stated that we are
only entitled to receive a report if we witness a crime. I asked if witness tampering,
harassment reckless driving, drunk driving and speeding were offenses that we would get
a report on. She stated yes, if you see a crime you can request an incident report.

Monday 8/24/2020 We informed Commander Resh that Officer Galardo completed a
report for us on Friday 8/21/2020. Commander Resh stated that he should not have done
that.

Saturday 8/22/2020 we made a call for service to the Palm Bay PD and asked to meet
with an officer, no one showed up. We then asked to speak to the watch commander. Lt
Spears called back and spoke with Dennis. He informed him that he was the officer that
responded to our CFS and he was not going to be coming out. Dennis informed him that
we were told to get incident reports and to meet with the officers. Lt Spears asked who
was telling us that, Dennis informed him that he was not at liberty to say at this time. Lt
Spears informed him that if he was not going to provide that information then he was
done with the conversation. He told us that whoever is telling us that is wrong. Lt. Spears
also told Dennis that neither he nor any officer under his command was going to come to
our house to meet or write a report. He chuckled and told Dennis that we call too much
and that if they wrote a report for our calls, they would run out of report numbers.
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We saw a news story with the group I was a witness against being arrested with high
powered assault rifles. These are the same individuals that have been harassing me and
acting like they were shooting at me with their fingers.

Link www.https://youtu.be/X20yYLyN-eo

On 8/22/2020 Lt Spears spent 20 minutes trying to get Dennis to tell him who was telling
us to request reports and to meet with an officer. Lt Spears informed Dennis that he was
in our area but was not coming by. Lt. Spears could have spent less that 5 minutes doing
a report since he said he was right here instead of spending 20 minutes grilling him for
information

When I called on Sunday 8/23/2020 in a panic in fear for my life when the gang came by
acting like they were shooting at me. I called and asked to meet with an officer. Lt.
Spears called me back and told me "I told your husband yesterday that I was not coming
to your house" He stated that the State Attorney was not going to help me, he wasn’t
going to help me and that neither he nor any other officer was going to come out.

Monday 8/24/2020 We made an appointment with Pete Richer in internal affairs for
8/25/2020 at 10:30 AM. We then called Chief Moya's office. Lisa spoke to Jonie, the
Chief's secretary. She informed her that she wanted to speak to Cheif Moya in regards to
filing a complaint against Lt. Spears and the dispatcher Mike. Jonie informed her that she
would give the Chief our message.

Monday 8/24/2020 We received a call from Commander Resh about out complaint. We
explained what Lt Spears did and the dispatcher Mike did. Commander Resh became
hung up on us asking for reports for our calls and stated that Lt Spears was within his
authority to instruct officers not to respond to our call in person even if we request it I
told Commander Resh that Lt. Spears had his mind made up on Saturday that he was not
going to respond to our calls on Sunday when I was in fear for my life. Commander Resh
told me that was my opinion. I told him that Lt Spears didn't show up and Commander
Resh said their position was that since he was in the area, he responded. Our opinion is
that the conversation appeared to be one-sided. He stated he was going to look into it and
get back with us. That afternoon, we received a call from Commander Resh asking that
we post-pone our meeting with internal affairs so they could gather the information the
investigator would need. I put Dennis on the line with him and he asked Dennis the same
thing. Dennis said absolutely not. Dennis informed him that they could still gather the
information they wanted but we were going forward with our meeting. The Commander
told him that he had already cancelled our meeting with internal affairs per instructions
from Chief Moya. Dennis asked if they were allowed to cancel their meeting without our
consent. Commander Resh said yes they absolutely can. Dennis said well then you aren't
really giving me a choice than are you. Commander Resh said they were going to
investigate the incident internally. He told us that internal affairs is for things like if an
officer punches you or steals $200 from you. Commander Resh informed me that I was
upset because I am a woman and my feelings got hurt.
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Lt. Spears called on multiple occasions to maliciously, intentionally harass us. Lt. Spears
told me to call when the gang started shooting at me and maybe he would send someone
to help. He would laugh and tell us that he is untouchable, that his commanders would
not do anything to help us and he has the power to decide if we get help or not. That his
discretion is that he will not have any officers under him respond to us and telling us that
if we continue to try to make complaints, we would be sorry. He told us that officers
don’t like snitches either. Forcing us to flee in fear for our lives.

We informed the Palm Bay City Manager, Suzanne Sherman, of the multiple violations,
failure to respond, harassment, threats, attempts to coerce and command staff interference
with a citizens attempt to make a complaint against an officer for misconduct,
harassment, sexual discrimination and threats of violence. Ms. Sherman, on multiple
occasions, conferred with the same command staff that was the subject of the complaint
to procure a response to us. This biased approach to responding to our lives being
endangered was allowed to continue by Ms Sherman as no definitive action was taken on
the City’s Part to ensure that proper and legal policies and procedures were being

followed by the department. This is a violation of Fl Statute 112.533Receipt and
processing of complaints.—
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V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, J certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
] agree to provide the Clerk’s Office with any changes to my address where case—related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing:

Signature of Plaintiff

Printed Name of Plaintiff { ISO Cr lA / Je Ops

B. For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm
Street Address
State and Zip Code

Telephone Number
E-mail Address

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